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                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS
                                     KANSAS CITY

 ERIC KELLER,
                                    Plaintiff,
 vs.
                                                  Case Number: 6:20-cv-01015-SAC/GEB
 CELLCO PARTNERSHIP D/B/A
 VERIZON WIRELESS,
                      Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff and Defendant file this stipulation of dismissal with prejudice under Federal Rule

of Civil Procedure 41(a)(1)(A)(ii) and pursuant to this Court’s December 16, 2020 Order (Doc.

24).

       1.      Plaintiff is Eric Keller; Defendant is Cellco Partnership d/b/a Verizon Wireless.
       2.      Plaintiff sued Defendant for violations of the Fair Credit Reporting Act, 15 U.S.C.
§1681, et seq.
       3.      Plaintiff now moves to dismiss the lawsuita.

       4.      Defendant agrees to the dismissal.

       5.      This case is not a class action.

       6.      A receiver has not been appointed in this case.

       7.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       8.      Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       9.      This dismissal is with prejudice to refiling.

       10.     Each party is to bear its own fees and costs.

                                                 Respectfully submitted,
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                                             By: /s/ A.J. Stecklein
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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing was filed on January 27, 2021, using the
District Court’s CM/ECF electronic filing system, which will send notice to all counsel of record.

                                                    /s/ A.J. Stecklein
                                                    A.J. Stecklein #16330
